   Case: 1:13-cv-04597 Document #: 317 Filed: 01/22/20 Page 1 of 5 PageID #:4608



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT A. TAYLOR,                        )
                                         )
                       Plaintiff,        )
      v.                                 ) Case No. 13 C 4597
                                         )
RICKY A. HUGHES, KEVIN R. JOHNSON,       ) Judge Manish S. Shah
RUSSELL E. WHITE, JR., KENNETH J. YAKES, )
SHAWN J. PICKETT, RICHARD E. PECK, JR., ) Magistrate Judge Maria Valdez
THOMAS B. LIEBER, SCOTT M. McWILLIAMS,)
YOLANDA R. COLLIER, JOSHUA WEITZMAN, )
and CITY OF CHICAGO,                     )
                                         )
                       Defendants.       )



   PLAINTIFF’S COUNSEL’S WRITTEN STATEMENT REGARDING SANCTIONS

       Pursuant to this Court’s Memorandum Opinion and Order of January 8, 2020 (Doc. 316)

ordering plaintiff’s counsel to explain why counsel should not be sanctioned for failure to

comply with the Court order setting limits on the number of pages and facts, plaintiff, Robert

Taylor, states as follows:

       1)      Plaintiff asks that his counsel not be sanctioned for failure to comply with this

Court’s order of February 6, 2019, because counsel’s noncompliance was inadvertent, and was

not intended to be malicious or disrespectful to the Court, nor to create an unfair advantage to

plaintiff in the motion for summary judgment briefing.

       2)      Regrettably, because of the amount of time that passed between the issuance of

the February 6, 2019, order and the full briefing of the motion, resulting from motions for

extensions filed by plaintiff when both sides needed additional time, plaintiff’s counsel did not

recall that a specific order had been entered in this case regarding guidelines and limits for this

set of dispositive motions. Plaintiff fully intended to comply with the Court’s orders and

plaintiff’s counsel believed she was complying with the Court’s standing orders regarding

summary judgment motions. She did not realize until the January 8, 2020, order was entered

that she had erred and was not in compliance.

       3)      Plaintiff’s counsel sincerely regrets her error.
   Case: 1:13-cv-04597 Document #: 317 Filed: 01/22/20 Page 2 of 5 PageID #:4609



                                        BACKGROUND

       4)      This action was commenced by the filing of a complaint alleging a cause of action

under the Civil Rights Act of 1871 (42 U.S.C. § 1983), to redress deprivations of the civil

rights of plaintiff through acts and/or omissions of defendants committed under color of law.

       5)      On March 29, 2017, this Court issued a memorandum opinion and order on the

parties’ cross-motions for summary judgment with regard to the non-Monell claims, dismissing

certain claims brought by plaintiff. See Doc. 231.

       6)      This Court lifted its stay of plaintiff’s Monell claim against the City of Chicago

premised on plaintiff’s unlawful detention due to an investigative alert. See Doc. 234.

       7)      The parties were given a deadline of February 25, 2019, to file dispositive

motions relating to the Monell claim against the City of Chicago. See Doc. 275.

       8)      Following plaintiff’s motion for an extension of time to file his motion for

summary judgment, on February 6, 2019, this Court granted the motion, and ordered the

following: “Each movant is allowed no more than 40 statements of fact in the Rule 56.1

statement and no more than 20 additional facts in a responsive 56.1 statement. No extra pages

shall be allowed....Reply briefs are limited to 8 pages.” See Doc. 278.

       9)      After this extension was granted, plaintiff filed an unopposed motion for an

extension to file the dispositive motions, as both sides needed additional time. See Doc. 282. At

that time, the parties were given until May 31, 2019, to file their dispositive motions. See Doc.

284.

       10)     After the parties filed their opening briefs on May 31, 2019, plaintiff filed an

agreed motion for an extension to file responses to cross-motions for summary judgment, as both

sides needed an additional two weeks to file their responses. See Doc. 296. That motion was

granted. See Doc. 298.

       11)     The motions were fully briefed on August 2, 2019.




                                                 2
   Case: 1:13-cv-04597 Document #: 317 Filed: 01/22/20 Page 3 of 5 PageID #:4610



       12)     In Plaintiff’s Statement of Undisputed Material Facts, Local Rule 56.1(a)(3),

plaintiff’s counsel included 47 statements of fact, instead of the ordered 40 statements. See Doc.

291. Having forgotten the Court’s order of February 6, 2019, plaintiff’s counsel thought plaintiff

was well within the limit of 80 statements of fact set forth in Local Rule 56.1(a)(3), which states:

“Absent prior leave of Court, a movant shall not file more than 80 separately-numbered

statements of disputed material fact.” Had plaintiff’s counsel recalled that the Court’s specific

limit for this motion was 40 statements of fact and not 80, counsel certainly would have

complied.

       13)     In Plaintiff’s Statement of Additional Material Facts, Local Rule 56.1(b)(3)(C),

plaintiff’s counsel included 40 statements of additional fact, instead of the ordered 20 statements.

See Doc. 302. Having forgotten the Court’s order of February 6, 2019, plaintiff’s counsel

thought plaintiff was complying with the limit of 40 statements of additional fact set forth in

Local Rule 56.1(b)(3)(C)(3), which states: “Absent prior leave of Court, a respondent to a

summary judgment motion shall not file more than 40 separately-numbered statements of

additional facts.” Had plaintiff’s counsel recalled that the Court’s specific limit for additional

facts for this motion was 20 additional facts and not 40, counsel certainly would have complied.

       14)     Plaintiff’s Reply to Defendant’s Response to Plaintiff’s Motion for Partial

Summary Judgment Against Defendant City of Chicago was 11 pages, instead of the ordered

eight pages. See Doc. 307. For the same reasons set forth above, having forgotten about the

special order, plaintiff’s counsel believed that plaintiff’s 11 pages were well within the usual

15-page limit for motion briefs.

       15)     After noting that defendant City of Chicago did not respond at all to plaintiff’s

additional facts, the Court ruled: “Taylor’s seven extra statements of facts, all his additional

facts, and the extra pages in his reply brief are stricken, and any argument made in the excess

pages is forfeited.” See Doc. 316 at 3, n 2.




                                                  3
   Case: 1:13-cv-04597 Document #: 317 Filed: 01/22/20 Page 4 of 5 PageID #:4611



                                          EXPLANATION

        16)     Plaintiff’s counsel’s noncompliance with this Court’s February 6, 2019, order was

not at all intentional, and was not meant to be disrespectful to the Court nor burdensome either to

the Court or to opposing counsel.

        17)     Plaintiff’s counsel fully intended to comply with any and all orders from this

Court. Due to the length of time that had passed between the February 6, 2019, order and

plaintiff’s counsel’s filing of the summary judgment documents, plaintiff’s counsel did not recall

that there was a specific order in place regarding the summary judgment motions in the instant

case. Had plaintiff’s counsel recalled the February 6, 2019, order, she absolutely would have

guaranteed that plaintiff’s summary judgment documents were compliant.

        18)     Plaintiff’s counsel acknowledges that the plaintiff’s motions for extensions of

time to file the summary judgment documents, when both sides needed additional time,

contributed to the length of time that passed between the February 6, 2019, order and the filing

of summary judgment documents, which caused counsel to no longer recall the order.

        19)     The Court having already applied a sanction (the striking of seven statements of

fact, all 40 statements of additional fact, and three pages of the reply brief), plaintiff respectfully

asks that the Court not further sanction plaintiff nor his attorney for this inadvertence.
                                           CONCLUSION

        20)     Plaintiff’s counsel sincerely regrets that plaintiff’s summary judgment filings

were not compliant with this Court’s order of February 6, 2019. This was an attorney error, and

was not intended to be malicious in any way nor to create any type of advantage for plaintiff.

Plaintiff’s counsel further regrets and apologizes for any additional burden that was placed on

this Court or the City of Chicago due to plaintiff’s counsel’s failure to comply with this Court’s

February 6, 2019, order.


Dated: January 22, 2020                                    /s/ Irene K. Dymkar
                                                               Irene K. Dymkar



                                                   4
   Case: 1:13-cv-04597 Document #: 317 Filed: 01/22/20 Page 5 of 5 PageID #:4612



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                                CERTIFICATE OF SERVICE

       I, Irene K. Dymkar, an attorney, certify that on January 22, 2020, a copy of
PLAINTIFF’S WRITTEN STATEMENT REGARDING SANCTIONS, was served upon the
attorneys for defendants named above through the Court’s electronic filing system.



Dated: January 22, 2020                       /s/   Irene K. Dymkar
                                                    Irene K. Dymkar




                                          5
